Case 2:02-cr-20027-.]DB Document 123 Filed 05/24/05 Page 1 of 4 Page|D 102

Fn_r-,g §§
IN THE UNJ:TED sTATEs DISTRICT coURT '
FoR THE wEsTERN DISTRICT oF TENNESSEE UEM,&';’ ph P§ §_
wEsTERN DIvIsIoN ` I *'
WC

 

HEH_F 'l" ~

  

'- L.
UNITED STATES OF AMERICA,
Plaintiff,
vs.

NO. 02~20027-3

FREDDIE PETERS,

v\.r\.d\.dh_¢~_»¢h_rvv

Defendant.

 

ORDER OF RECUSAL OF MAGISTRATE JUDGE DIANE K. VESCOVO

 

Pursuant to 28 U.S.C. § 455(a) and (b)(l) and (5)(iv), the
undersigned hereby recuses herself, §gg sponte, from all
proceedings in the above-captioned case.

The clerk is directed to take the appropriate action. to
reassign this case and to deliver a copy of the May 17, 2005 Order
of Reference to the magistrate judge who receives the assignment.

IT IS SO ORDERED.
7
»@M/)u, %/ L%/////f

DIANE K. VESCOVO
UNITED TA ES MAGIS RATE JUDGE

DATE= A/z/ p’f' / §mu’

  

' Case 2:02-cr-20027-.]DB Document 123 Filed 05/24/05 Page 2 of 4 Page|D 103

FH,E!' .',"' , .
IN THE UNITED sTATES DISTRICT COURT “J '1’ y - 3-'».

FOR THE WESTERN DISTRICT OF TENNESSEE ych l-_,i!§~|, §

WESTERN DIVISION l '7 Pl~'i h= h..g

`., ._;-; ‘s'.@.c-:_ao
near or

i.<.€w:`.'=lizs§

UNITED STATES OF AMERICA,

 

Plaintiff,

v. No. 02-20027~13 d 69

FREDDIE PETERS, § /i/»;/ 1

7 ` q U ' 09
Defendant. MM/ q/

§
ORDER OF REFERENCE b

 

 

Before the court is Defendant’s Motion for Bail Pending Re-Senteneing filed on May 17,
2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions Of the order objected to and the reasons for the

objectionsl

1T rs so 0RDERED this llq‘]“day er May, 2005.

l

‘ J. DANIEL BREEN \
NIT t) STATES DISTRICT JUDGE

 

This document entered on me docket Sheot ln compi'!arice

' . r_
with Rule 353 ami/or 32(b) FR\JrP on ..3 &’"US/

 

- 2:02- r-20027- DB D m n 123 Fil 05 24 05 P 3 f4 P lD 104
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 122 in
case 2:02-CR-20027 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis, TN 38103

Kemper B. Durand

THOMASON HENDRD( HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

Mcmphis, TN 38103--552

Honorablc J. Breen
US DISTRICT COURT

     

UNITED `SETAT DISTRICT COURT - WESERNT DSTCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 123 in
case 2:02-CR-20027 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

